                                                                                 Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 1 of 42



                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Hoop Earrings for Women, Y2K Earrings 14K Gold Plated Hoop Earrings Lightweight Colorful Open Earrings Small Hoop Earrings Enamel Earrings: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Earrings-Plated-Lightweight-Colorful/dp/B098KZ4Z8L/ref=sr_1_18_sspa

   Collection Date
   Wed, 19 Apr 2023 11:37:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kXGWoMTkbE+ArdhC/i+qfRwzU3IkiEdOS0gVdk01wi2OafoyqrSSR9yVonOEEYxhcX5KSjm6kU6vyOQxbRuYadO4d7BRNbOVstLmYKK502Sk1pNOzTmb65rm88Qb4uDe/B39EeqkKftncuCO5u4tGA51+x6XSFWta+/VKhlMLa4=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Earrings-Plated-Lightweight-Colorful[fs]dp[fs]B098KZ4Z8L[fs]ref=sr_1_18_sspa]]_Wed,-19-Apr-2023-11-37-02-GMT.pdf

   Hash (SHA256)
   6a18b770e5f0209f4eaba1ec7dc3dddeefda3c1ab6740bcaf568c2c4eddb79a4

   Signature (PKCS#1v1.5)
XsXwTYPIotThanSmo3+wRbYcjjFOTXF8jNw2NVtRsSCsejuLb7q9knxkPRrOTHyH1MPjudRYnFQknAC2QjFgZF3fRTuvcSdLoIWKJvfnmEwYWi70I0v0mT6FV8Y8QIQpySDiViuFztz6hFpxDIaNxBqaVUuYjBLJMRsVv9iXW9Y=
                                                                                 Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 2 of 42



                                                                                                                                                                                                              Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 10:22:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gUWBjJ86sL5k3/MASumqXkwqPUvxIXMpozag3U06fficRn5POoCio8KqCD0l3TLU7w0H60JPHWTt2eU90AwZYhOD5ta3GcLijZOHf4Z+0Dxaqa/mhlcQJ9VrdeDTXagDdVvCEITLCWTocnsWUTJTwCKqt6PyzHh2cqvfeyn6cimiFTkOTlixWZUh3f7cX9r5CiBalHvI+nF4KX0/L9UKLkJndzj/
   hoMqimpQgIYkTeFV47q/z5Kcpcfy5WV/JXMwvk8FroLc8LDow/CKupg9YgfdyiwmwyjtnKGQCduhh83wzTMsjhL7S6ISsimkC7qis7lphrKpqutgIj19raXkuQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-10-22-04-GMT.mhtml

   Hash (SHA256)
   2c3a7f96f0a7c7b3b2f3d9e05d3fbe2bf9fa092af94dba09f6a300acb2f2c0ce

   Signature (PKCS#1v1.5)
gc85T6O+OLBmLVjpTmH4H/ThwCou0WMkfiKglNjiv5Zut/GWWXQEp4KGtcCUXzJ1CONm6Put1sn/bJGTE8BHV+qhl5lUb6tPSSgmTyBO18N6il/OhWaIapjVUrxuJl6K8x6NkzjhbYsYtDRaz+/8NY5KliustFVd8GoUODcVMapcbutAhMGkCWD1iN4ZkE0oXdyNdU59Q3AhXuEW+D/
IcBZy4ZomiGsAdv4DYWuoTiiW1d2xxCPbKfx548nyv4yVa/tD1KkTZKe9uh8ZZjA6uTBeyfKs+9q6chZrRVB8OLiPyOaG8DPZ10opfYo37KwYJjKY2R7ZcH5UtNtGFPOojQ==
                                                                                   Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 3 of 42



                                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: 1500 Pcs Kids Smiley Face Stickers 1 inch Happy Smile Face Colorful Incentive Stickers Teacher Reward Stickers Mini Motivational Stickers Reward Stickers for School, Student Incentives (3 Rolls) : Office Products

   URL
   https://www.amazon.com/Stickers-Colorful-Incentive-Motivational-Incentives/dp/B0BK16V4JL/ref=sr_1_45

   Collection Date
   Thu, 20 Apr 2023 07:36:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Jis3AiZhPVARjqbLqV4nYUX+eVOrffbbjalcdgZe8TwN6K+kA4zIEg5DcRkCrXPUNPCKdNFDgKmt4XT+JsC/Hwd6ELuWxcxLN5kArchR1pkXsLtM4+xfSSKTPiz+Jl6k0otHL0U8fcYpxPcRcKmcC86NBk/vsgjJlDULiHw7Ryc=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Colorful-Incentive-Motivational-Incentives[fs]dp[fs]B0BK16V4JL[fs]ref=sr_1_45]]_Thu,-20-Apr-2023-07-36-06-GMT.pdf

   Hash (SHA256)
   636f335afd312a1fefcde0e63953034353067b783409b6ec937b383d66917a10

   Signature (PKCS#1v1.5)
sjtRBpq62NX3jDk2xHu/TwlVB70+DHHb83wl9dYzRxOG/pnGJMfwe2HP7RoVbzmLzOVSlHF04sgDhv+GwTLiuLgFinLlXB0xxs13LRO72dcDz8bY97hlfAd7mU17/gTQbUaYDccUZVvHP1+Q+eP1kmBoinscXL+eEyLVYaj8wwg=
                                                                                  Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 4 of 42



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 03:50:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BK5z97lyxFZ2eKPZfV3rOHQJaAx2f3jeHDjgfu86WY+Ryd0ytN2QqrdK2HSBlPuLbCq5Wk9ds7pvbTLI4RjxzQHhgfxUB/jm7teXLf78mF2HXkODZLhDzMMx6DjEnVIGTWsATIBF4mPy30dZODC5zE9ISQeP0i01W90rszMsnlzykSI0HsXXvnOZBz2tOLj/bgLxPuF
   +JWEFTqOopbwpf6BgAM8yereOLe35RwYtEqNdEyciwdGFs7rKLLOFha8JruRXwEWbu8iELdnHtLdCFUL0g4ccQ87qds9J8ejw/caLgoNXOlyvlXvqqqKQjbBxGb5GVNrcG9cVrNISimsbJA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-03-50-34-GMT.mhtml

   Hash (SHA256)
   cadc629b599f0c0bab9afe7228e1d6a4f3353889ec5d04602d0fec04b495d933

   Signature (PKCS#1v1.5)
SsX3wCKXzgm9VBtgJ7FGEx6S00NWNDeXv1ttHoCuHuRCCEFHNZP7FQcnBLp3/PCneIGd2WgcuvLnfImMfqqEhr7HWfgEQf/SG5xSB7wOLHq5xn508QT5R5lFdBOFKgejKoD0O2dLCSYT9n6GppCRBXj0Fj0U5VqgdlpKIlPYL9SeD4QOhXlpsF6S8/IXoZ6O1xSxhxIGgTsvEnpxkJCmTlUYumJ
+VGyiACjCd2b5YptYJmqWzoTAFe8ePtUCm2H42uwKP8vwG58KFxRPeTxl0YiRI8e+r/kv7qFgjwoDviA/VNxTaZ1lp+S32/J1lEFJj1+ExO1PGy8kwcYZpi3Rjw==
                                                                                  Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 5 of 42



                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Personalized Shirt Pursuit of Happiness Smiley Aesthetic Trend Hoodie, Retro Preppy Smile Face Pursuit of Happiness Hoodie, Trendy Girl Hoodie Aesthetic, Trendy Hoodie Sweatshirt : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Personalized-Pursuit-Happiness-Aesthetic-Sweatshirt/dp/B09ZHCJT94/ref=sr_1_117

   Collection Date
   Wed, 26 Apr 2023 06:45:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pgogXzQpRCJazUbqLxFxjLZ/YZOyOKzmeUWqO4n6zYemGi+JyNaelqu+Wjg7XzQ2DlccUFhJWspCfHBINZme36a60H5pu8hb0eyOJcWjda4ZUzpxlQXVqgQwlPfs/kD1fTt+6jybGZ5XV8tXG1ShGSpxDRszmqO/6XMsboG2U8E=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Personalized-Pursuit-Happiness-Aesthetic-Sweatshirt[fs]dp[fs]B09ZHCJT94[fs]ref=sr_1_117]]_Wed,-26-Apr-2023-06-45-09-GMT.pdf

   Hash (SHA256)
   ec4cebf7a474e1e71661e8486297990472fd33e0a827d9bc13ad2ecb60c00eda

   Signature (PKCS#1v1.5)
mAaM4As8zjkx5vLbT8sF7MYmgnCY784LZgfL6rYNPgGL1yrFcq/f0+imjDh1LDW7Teuu3bAUbsX5Ttdt8HCwBhkrMdTT4CQ4PL+7RYw272SOvBNegUe7avwhA5scd6d4YCcwhL2TJvrjHO7uYbNegAKQ93FVb+/9xv7HUEJpMyU=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 6 of 42



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 17:14:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LbRdqeM/nj+eZxjb4L/BQfr93i2t83WNFvkqEazLd9ZRb/ZEHbJrbqVnecaQ86kYMvKosNtr9zS4pwfniIUcTewJAHZT+bKd2iBu6BwMVau4C5MZElZiAHVVkFddTH1T5YeyuGXdrRWcNGKO4X5M8MjX5Bf1ICmd+6aenwQmZ08afzSuWv74GM6MAtAVUJYjWFeA0ft/
   +GQY1klpPqwI4aFP1cODlZdmBcwhlRTwcqhlkccZaN15ItxyknsR3qwQIZpL9uur/87TfySo6BxpVWg7njXSTGi/OHkLqNNVHijZThgqkTqTRCqhfgpFL/lL7UBnhVWMUv6PvR5NPyqwtg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-17-14-01-GMT.mhtml

   Hash (SHA256)
   3a592fde98458bb643cb80696da0af3399d4d455a35c4123a677fd1f449bc97a

   Signature (PKCS#1v1.5)
GDhec8dZIAEscgaNCViLGGQzU/jbWKnMFHvin6KQhX915nESK/Jv+QxTfLoq3kAbDX80UHq8+elhNCxAIXZfb4OSBHgA/aH0jPXl3yZlfWYJCvrx3Zhrh9NWfaoEg9G4xlPZCD4Rtp1e8wpaimcjZLfCvEfHkPXvvcbFnEZtkukcLZZwnsHedTtXazyzjvNAcCTWTkol8tU9S+IqzewcY162wk
+Ap3/40ueGm/60cjOQi3pr5wSjethdkbwjGc+C5wZ2Q4KNGIMESFbJDvaFNaJApu2n0QHVli0amDgri5yAxLsCQKgaPUHZsltyKjim/J1eTupFUqLcrMQx0ZKEYg==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 7 of 42



                                                                                                                                                                                                          Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Hat Embroidered High Crown Foam Mesh Adjustable Snapback Trucker Cap for Men and Women Black at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/dp/B09QPYQ7KQ

   Collection Date
   Wed, 10 May 2023 07:16:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eKW/J20GfFkSDnfAe6IA1fMdz6eJ0p97RhdJhZASucpz+8gKJ8g0w3JXvD1Jv/2qopA6WphoFDmUnDson7slsrO3UIuhP/fcbjhPH+D57ZHJug40T+NAxAvHbIy5ZkoiPbhJfD0uEaouqVkruRn0jGSvv5WVwBq1iSpQC6hNO0u+dT5O0KDdirO7lOcHCqohC1sV/MBnHJp++q/qvpfEg
   +wIM9rx8RtrS+KTVWGv1uT5l/WDSYja4ZU4FrAVCQcyvnNxCJ7mHD18GVpVEbK2f3+UcI6ompSRCjVfJSucWoKVPjETaZnoreZQ1Gdbbr5dIYv8f2LrouD5PRV0i+uzLg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09QPYQ7KQ]]_Wed,-10-May-2023-07-16-35-GMT.mhtml

   Hash (SHA256)
   6fb9a621971e09b17965042f6608d601ea846273e30c49e7d714d1f2693952bc

   Signature (PKCS#1v1.5)
eWFlg2aWOE4bmQy7PfJjsYZT5BqkN0E12RtaFKmbtSWT+IFvaJM1Jh8YD3aZV3SoYCAC8pup5L4sjEocXJtV2CU2O+xABEf0xP66zOeHMDYIZstcer7goorarUzJpdqdCOmBfXWupXgiju3d3W3DKp4g/f8aI8/KD0y6fi6qZt64QOC2BbKisiHi5bP+JzZb+0MduMwHtIQOcrTcelUyeb4LFAJaB2L
+gB0pVhWxwQpRUcb2l7VwFxj/HbRZZ+cVGfDRas9zfipLeMTy4ati1xHqWtzqAS+QT29jcEZZmJPStSocIW0PWJVPAwFcArsy9wdF3l0mM/3SgNZTf6cd/A==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 8 of 42



                                                                                                                                                                                                             Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:44:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HwhXmBCbYeGUD9UjnFJPToGjZtpw7zbWXNdaEGfnslSaydzDrlRz/4uUhqLKF5ZayAXXfxNWgBOA3Rzl9mcCO3QEG2//Og8AaqtbDQO/VQ4pz/5kXrFlhiKvCQhq8SCw80DOm+OEgI5nbplZHAqchpNlXxoJeTTZYS2Cpt/6tYvYYF7zMOk2/s3fwqmOBQlkbyV
   +oVLHW21mfeI5mQYbnnanvMIicc42IrE9w7AyAIf6WJ/M4Qx6JaHQ7zVfeYA6vvfRizIZqwYliYOFLTk24u7xF2j3UC2o9EvYbUMssRH0UAXfZ1UmXktf4LscVCNp2P5RlXVjo4b1xniTm9rxFw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-44-38-GMT.mhtml

   Hash (SHA256)
   5a8de91f94b47d60c9f49dc7de6269315b6070f09aab48c6d72683ad6aafe96e

   Signature (PKCS#1v1.5)
PLpVsgD6wvgNU+GxD/XUqqjaX0eRDXLSFLVxIUKy67BLdgeLveX+f9g8ZxEg2S3SWpWVXvjkV53eqAxsfItMfeKDwE2kA5l+nUWk2RTfulmXUQU0UbszSlAa1e42jljKkM8ess1aqLudY+Dd5HhHhu7o5PQK0OX7Krm2JmYr8f7caoESe0amVPB6E8qWOpwoBfN602Yj84o+KgKOQ/
yBM0gjk2JTCV8eiVhXlUJpVypzOj5M4i/X7BsFRD8Pswh8rdoMFeHxZcN8MdgY59Mbl6LHBvdCrSGpylqq1Uuyo7hbRBYd1Y7A9iNI2wOGdath4Nnxxm2UJXKRzQdAmUu4iA==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 9 of 42



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Knibeo Cute Blue Smiley Face Preppy Throw Pillow Cover,18 x 18 Inch Pillow Case,Gifts for Teen Girls Women Kids,Home Bedroom Living Room Girls Room Office Dorm Decor : Home & Kitchen

   URL
   https://www.amazon.com/Knibeo-Smiley-Preppy-Pillow-Bedroom/dp/B0BXS4FV6M/ref=sr_1_124

   Collection Date
   Tue, 09 May 2023 09:31:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   A/a0ZU7VQHUZEUMdDFfHllY1Ywo2/JAvqxu+nELahlbLVpQtE5akAvKETRY+0HLQeHT7c5IDq/a88TCaK7+Hd5L1zHRxLT1rRuf+WwWkTVyKy+OWrTNzTcToki5uzikWh1BzpObdl2h2/A4WJcokRkl2O5NeHBLEXDGl/EZ2iGg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Knibeo-Smiley-Preppy-Pillow-Bedroom[fs]dp[fs]B0BXS4FV6M[fs]ref=sr_1_124]]_Tue,-09-May-2023-09-31-05-GMT.pdf

   Hash (SHA256)
   856af0665e69147a0031f4e1fa527bc8a9383f416b697dcd4aa192e031d8feb6

   Signature (PKCS#1v1.5)
ErsS+yVNUgXj/EiEYb/42dw2iiEYx839IehWy6E5B7PT0MXMHn8jCFc1+8fHPDsCelvZKtL6MKUrB7HmVq/ZULJYcdOUcNiFwvBY5tl7qRCkGj0XjXahP6Aa8/2W+WvHtWlPMXHJ7C9O+yaYrMJsPnlEBvep+oC/dqjjQ5Fq++4=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 10 of 42



                                                                                                                                                                                                  Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 17:13:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kDQYNBvLWVB2KJ24s8IyfEf2b2H8Su2PFotmHJbit/MVtN5Qv4sp61ctfC3GLUcQlMeqbYhZCmreNwKizV9c4arpdT/ZLv7ZoBSND9hPgELuobNjBzjIQUcLLJ9+UazITqUWNEzNRUDRRMz28zFZt632YLo/
   mBkEYb6+HrmptYhdedPP43UkE1dM9RUfDR8ZhUzibgMhikUdsQDdLiMlEjaNlGZqxidpKpGYJnuV/vw0BQ+A6q21fjFr5QheuFyu/39YynUhZ+DsztXXQsHWHK7vWvd/IvxtMT66TOzq/58dbBVPkly0zDGHw2gnByM2bcq3pyLMbtJYHeJKRTM51A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-17-13-34-GMT.mhtml

   Hash (SHA256)
   34e203cdcbbff8bdc2116a570aaa3c4296d2c477dc59b407905e2547104d39f2

   Signature (PKCS#1v1.5)
AOBPv66s4HlJu8nZi839h8+fTgUEy+vJDAyohn3wSmOeQoNukB/33ZHrL1XKEqYvaSjuQ29spdsB1ugWrgYyXoeady9rR5lyN2r9Fn857zyfN9ub8cJmWevdaqxDjbMGx9t3+geHPOTXJ9cb13OH3mPKi7CElxeDPw
+uGM6ifpsokRC2aZZN6yNxI1u5mRuqujYH9Q2zR2sF1l5eQqAe9WJbqD3YiZUpqhyuwVf+d8JMnOg9z1g4IuKmyUcHRgxbGQt4ufkHsK4iIwJwcPcFz2I6tXB2HbMXkO5esz59lVYtDveYytwzvHfMUyV1FPvKFL7D4o3XMR2pJEJlv0WTpA==
                                                                                  Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 11 of 42



                                                                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: T-ztoss 10 Pairs 14K Gold Plated Sterling Silver Hoop Dangle Drop Earrings Colourful Cute Round Smiley Face Earrings for Women Girls Fun Design Face Earrings Statement Preppy Earring Jewelry Gifts (10 Pairs): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/T-ztoss-Sterling-Earrings-Colourful-Statement/dp/B09FFQGXYY/ref=sr_1_180

   Collection Date
   Thu, 20 Apr 2023 05:08:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J4ClwoY4as4WCRKKz32umqlEqMSx/Ox1/SuhBTCH2LcrvDXL+QYqoYF8itVdsi+rMFvbZZo7bnyG8ZRERDpF4brmE1wMXBUYzSORbMwE3elAfQSqZ16pEMgznigoG/raMHZsBNRRRsfz0ytdnZwBIHOVWa5Fy3qntJrWc1Jud4E=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]T-ztoss-Sterling-Earrings-Colourful-Statement[fs]dp[fs]B09FFQGXYY[fs]ref=sr_1_180]]_Thu,-20-Apr-2023-05-08-42-GMT.pdf

   Hash (SHA256)
   33371a24e679d83255666ad8657cc0938eb8af0095448ab1c1a5eebb9eff246e

   Signature (PKCS#1v1.5)
r/iexzGlXOJyHdzWxp2R/6e5UJxYubQ2VSha+kL/40CKmk5t7XQ+xUVazyWcR4FM4KyYBywL5Pm9FUunfujSblX6z5HqwPe2L48+CEPeDdu89EDhv6VKyQbT0mKuEfo/ZMjPLR7vpFHqgF7Qo/nvaUt/94E+dR5QRVPr3bg1Rqk=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 12 of 42



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 11:53:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   S5tnOije3ycZqbVduHdhuoAXDQhNgaRKii/7g23nzVwvVfSoD008qq/xqCSAjzLUhXaa3sUMWK3VvrXXXn1a5P6B73AWNhC8v+CUEzudHljb0J7oWb2rdzpNcD7MBNMPO5ooqilSMRSi09OUVKoIqHCUQsUvy0QUNSqfhq0PjAoJQR3cv5NeMv0Dytt4+B/W87nP+QSXDeicANQsPpEPMu
   +SjefGvw91g7MO5raluc//uAI7Y0ww59dhnevAUG/xoS24hdPGE7Lro1Fc0eF6OrC5RCAQHf9phWfBL8h2DoY/m7SLY71tmoqOQ9MyeOGXU1KRGq3WnA74D0xY/Vl+2A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-11-53-43-GMT.mhtml

   Hash (SHA256)
   f4d13b23dc5806c6f1149c2e4a2020ebfd1d29a8434f86897fc147cd56563239

   Signature (PKCS#1v1.5)
EhQzJbjKo3mvnq2VZbZEjLoxOiGOurvWdoMVIOSuu0pOUjlDyLINjz1zbimjYjYc+HKdhlSiCi3iyU7PMa1MPs/IOM7L8U6Edq2c5aC3Fwv0Kw/JSiYMACDUu/EH2vNoDfapwVIqSsItzkDRICU0ud2mUWnyuQpjGBjxiT0ae/1uaRTE7Ie6vr7Gb5AbXRRE+gBuAPm/
v7SruWHxnI8pboWGHd6eNpBE5YslX9WsmcuoO/vXQUPKluWflzbWWvmBd+rkoMdmal/+1BW/pyb4llXHDi71Ab7pjzbM04AHjMT9v7kx6FdYGHXKHJJ/H35RnPm1cSnEfhT0VD3SVqpj8g==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 13 of 42



                                                                                                                                                                                                                   Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 10:08:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g90/vHpMAUTihLv5aNEsMQm3zI9BJKkRKGnOP3tdHs5X5jld/SYluTHEokhUWUogUj3ZcCjdJzFPBEL3pywoHNmrjheALBTLFghZkziuGGldlrVQaiEPF4rGCHJ+yA4Nb8WGJ84oVQr+O/5drEgn4K/hOlftazUNIj2pB+ImjRTsYVt3RNayKx3rQU5idFj9xf/G+4Cd7RPR02hKjQFV1pIHi5L6MjPcC
   +Yc0i1Gsr5XlS2LBK2Jm5Aoi00Mr5+h+z40XXX7yFz0s3De/0rAydAfqs9j1soOZPGdgrqipCViQ3FrcxfcdSK2TR3y1L9/IAnxavwcfFpJ0/9uVD6Ufg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-10-08-48-GMT.mhtml

   Hash (SHA256)
   2fe5fa5157b1c60a2357caaa7e3b4f206239cf3456016121709ddb4ae6e9dcf4

   Signature (PKCS#1v1.5)
OMqconKLcfNS6Ud5bTzIwL3cOpyM5uphGbOSO2FLT3+Vdp77yrdJnre1iRnqun+UrebcEF8UB35RY9Eyel85X+Ys+g20AIAgUGBsG379fippnbogxDy43xx8kg81pCbY2zI+hswX69WSUie7eNy0DcZiemphK+87ytV/
tIVVPyr6EWTiYreteuW6C32dpB3Bn0zQT20DZSO6yfI3zYX4w5Bclx4UXJdqeTXWXWscc6hcGsD7iPsY+I9sEB8TAOKvs/lQweAN71lcUiqXCUcQIuImyjpUa60/F31cP+2FzgLBipNHUpqpDQUBAZXgTJM6OjmxTlE6gRAeqQroxcbuWw==
                                                                              Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 14 of 42



                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com | UCUHNB Kids Slippers Toddler Smiley Face House Slippers Indoor Home Non-Slip Rubber Sole Shoes Warm Cozy Socks | Slippers

   URL
   https://www.amazon.com/dp/B0BB6QBRTH

   Collection Date
   Wed, 10 May 2023 06:12:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Fon64NdLpRXVJYERFWyRxg/3f8IWjNEQwulwBAS2ojN/WTeLKFjmGqOL2Tgz9S/XhbhAjSW3Ycv/9gPoRG4F+heCGG3khZxQeW3NjOTcLK+ILJ4+NynYOCurunOqiRMdM26K2c8hr0oIA0qeYE/VUDWMwpl6DtE9gCf9uNHeG7F2LslaIVB5qBUtalRCIHtPnaanpdAUAv
   +a6Vup9RjmgGZO5+jeQ9lwrj+rfIWXlaccmfqicixb6VPgmwK7Z1cPKoCZLdWtMZgGC/8wNbd1s4lQ4eVR9wEQy+5F9cSNFCyjks4ElRCjy9Z921vCLSWD9EhTsBKNjFNZ96goRkbKUA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BB6QBRTH]]_Wed,-10-May-2023-06-12-52-GMT.mhtml

   Hash (SHA256)
   e78f41bf3185488aa0b489b0d6cb864e7c774efc9ddc34217bbddec2859f01ab

   Signature (PKCS#1v1.5)
ePC0duPG2QMYv4qCGcNwAfU4LOkJ1jqqH4A6Jd5iGANLhcVzpuNTZM0gYLLt31UsGm1dF2ksOU2pSQNXsLm2Wa3RsQAw08ZmJSiMV8nG6Kx+j+6MUVb0JA0yrA437oO2WAe3jNhVZ/TTnMtmIaMIl2mntbJb1XqLz4VKVw1TkamZT97t61voC2LQkJJFrFirLw+rEBsu8ktG3ijKCTXiD
+eMrDEV8OsKcs7iwayg4SrqLD1N20/GBoGFnGhefj4ttawzHcjdRmzuuLbV2ruDN7b8T71SoXFEY7zvA8voIe4mEDwYyS42ILchYxuQ25RMUk6pvXzwDjPk3tOSwLmNSQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 15 of 42



                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Ufraky Boho Layered Beaded Strand Necklace for Women Girls, Colorful Beads Smiley Flowers Heart Pendant Chain Beach Hawaiian Costume Jewelry (Pearl): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Ufraky-Layered-Necklace-Colorful-Hawaiian/dp/B0BGR92229/ref=sr_1_253

   Collection Date
   Mon, 24 Apr 2023 06:27:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DA+Sry6Llc/InrO5x1LHIr70TA+rgnSRqboUPfmdvP8csuBqfZtzlJTp0o8ohmFZBvN+1fnmyTo4UPew2CJBAO7KZCTTJjH3SSxTcTBW5s2VZALWXcYRI6qpHSLT4t7pP2thFDsJup0PGe5hxdoU7khjtsN9T2GFGeD9fVOU26c=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Ufraky-Layered-Necklace-Colorful-Hawaiian[fs]dp[fs]B0BGR92229[fs]ref=sr_1_253]]_Mon,-24-Apr-2023-06-27-34-GMT.pdf

   Hash (SHA256)
   86a156035d5ffbd3d8a3059929ad87abc8ea0f04b47da9a7228a108310fd8f40

   Signature (PKCS#1v1.5)
jSGM6QgfA+vYo9Fjobb8zWbHHtQ9bCLepmtwQCgNyK5xP4qnwoxDt8aGeCsKLVQe7UNrPKGz9KYzFGevW91iMytGYeinsTGZR1Ng0HJpDkjuCALWikb80qviK9QizOhkHODTXvgy6lDTIzzv15LAfL6Yjj4VQMCphru7rBDm61Y=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 16 of 42



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 15:13:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ld0cpXCVV4z2O413Mk6rx0CzsjOnfY9TJXXQRkPIU/b6npfS31bTFxTeVGzg9Ha4n/llbiu2DYyLpPbgAC1b34ukj+nyrP2uYctJP2I+TfxEPBIyTUh4cHeG3uvIjB2NTnncjFedIsx3F9zYEYsE
   +VDYsPPCwO7ozXrfHXo2qNX3cYPuWawQASkIvOEArK1U6KfIKbWxVP3KoG7IShpKru5OhEdGXHC8SJ90VQFkKqPnUzMunjO+MrworgNKPhvaXL+3012YPQUrOwqpNG3rjFI8XxN/9I3NENKzZYgacc25+FGQAjoWqGyBE8IMYsddI7JaPmY91fPp7GnxRU6aLQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-15-13-50-GMT.mhtml

   Hash (SHA256)
   e3a161c67418f77ebf9cc0d0ba1317d77c1d03ef91fc95388765dfd19b74d3a3

   Signature (PKCS#1v1.5)
Gx4rJF824XMjj76R7zcyjE5b6eoM+6ioMOALp3cUfb2ySZEORvv2kmQQK26IE4wCBIxulbxdgKtcck2M/iwj3txosNYwHn2vGCpR7ZJtYWev0h/i+CpFsVb/SDitje/N91szZ9FtRXu4YuTOi6AqhRTRNOq8uDgO04WB800VPjAe593msFRtjuaAI0waBVOHp7I04udSTWrr/
AnJVe5IfzfFaTAbRD35MRiQWjdXbfK7EK+7ixPz8GFh73mW7pp95p4lqCrMulAYC3CGsFtLg8qHZI6bedJzzADRO8qTQZwLDXgzflnGFgqpr229PD13zxVU5W8SqHF3+AE4+UsPdA==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 17 of 42



                                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : UHOMENY Smiley Face Makeup Pouch Bag, Smile Cosmetic Bag Aesthetic Cute Smiley Face Makeup Travel Pouch Organizer Storage Makeup Bag Pencil Case Bags for Women and Girls((Blue) : Beauty & Personal Care

   URL
   https://www.amazon.com/UHOMENY-Cosmetic-Aesthetic-Organizer-Storage/dp/B0BRKHP1Z7/ref=sr_1_170

   Collection Date
   Thu, 20 Apr 2023 11:49:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   S78m188gpkrEB4lyyzazc+i8c5wODgvP3Ov/joXAgJNChLRx3AzyHjb2rmBVjlJknnowdGZhProDE8H1p6WaO7wLonq6GXOWjmhZAh4dNLi5wv8/1tFYHxLHFNDu9OZOwA6alYKSel0WmelIGr5bLBqnlvbNB5UAnSHTTqBhraY=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]UHOMENY-Cosmetic-Aesthetic-Organizer-Storage[fs]dp[fs]B0BRKHP1Z7[fs]ref=sr_1_170]]_Thu,-20-Apr-2023-11-49-16-GMT.pdf

   Hash (SHA256)
   00c13e76d5564f3539db815934f0da3d48d134dcb68d6e78c25217db685ed07f

   Signature (PKCS#1v1.5)
hlA3hkTambQP2wzXszsvZ30jgylddmmGtq8uLZBXdb8s9T5drdU0HgBBzwri/ZDQkzEYG3TApur2DUh+CUmjnNPFDy9ceinc5DVY2NQi6ibnHgCWMqLImQbe/3VJeH40J5JC2p4xRIrfQrhd3529iK9CxVPD7hH0D9Pjz8x5C1o=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 18 of 42



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 04:05:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KUCZ8hZzaNscub7zsTg9jB6dBNQixXBDsyQTeF2JHfKBzMPIvoTebmxaNOpqCi/EQJQxP3jf4Z7CaxrKZ8RbdLE4lUhL1WgWIhyTd5F/f/pEWjsVEuyMwpPL6gLW45Unr7uXh2DSltC2kufEhkgnyP0SAA6lUL6hRXaYWo2rXKhbTCLMY/
   V7vWYfi9y79f692PgqG96uIw17HhzFhOiutIe3fbxA4AhlP39g0B7ul6za+WG9E1vzNiYPPr2JPQJIT2usDm3UoVvFYLlhe6IQYUWjNcEU9V3axrKZW8cA/uKjBytssKgtegpLhIxqkFM8px8vz+4SLb2OO2H4PufzoQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-04-05-15-GMT.mhtml

   Hash (SHA256)
   e6b005c4e33b9ab14b768993b5e670291a8b9fb15462ec393b0421640cd234e3

   Signature (PKCS#1v1.5)
LIfk/ZrKvlgLrxeJ68+WkLGW4wM/YMI/4By3ZA4GAbJ2l4gI+s80JrDAxUVoKcqbrez79FihNRxosau9y6Dx9BxQDZYYvweSQ2u9o1VVLlR5AFKOuHMuq/G3wGFn9755Im2zqXoATBg4qfcdLVqdTJWMlbIiAMB+NXkdCnvygmfPnt3zsttLvh2PhliwVYudjcIX7LMnr3nwLM/
H4pbBH0d8sNAEOsqqyqwFk0MqC+vWpI5SgZwq1aLMbXCJVg37SpzRumPYzoqgw1ItNklIoKLKfmoUaKKpyLjS4C5Qk/1fU65A6F/laOem0TLEK1i0LCyEDY6yQ2YyLMyzYghlzw==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 19 of 42



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   XOMO Mens Women Smiley Face Baseball Cap Embroidered Trucker Hat Street Hip Hop Dad Hat A green One Size at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/XOMO-Smiley-Baseball-Embroidered-Trucker/dp/B09SHN5T2X/ref=sr_1_187

   Collection Date
   Tue, 25 Apr 2023 11:27:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Zi6NIGxj9G4aGSvfHmWd/c42AG/FtHdK2DhFooNrB0YCBxRi3yCLnS7eSgv9DHpGGa/gMd8J1RoRaZuLwENYkaZjCqy1luWMwu50to7Fv6qOeVW2mYzZWLox+xA4kgJe4u9HYNKrQbrrAFXms/Wguoq5z8NKOCBzYODq/7p0p2g=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]XOMO-Smiley-Baseball-Embroidered-Trucker[fs]dp[fs]B09SHN5T2X[fs]ref=sr_1_187]]_Tue,-25-Apr-2023-11-27-23-GMT.pdf

   Hash (SHA256)
   b4b1223358f274469df97f92959755993430151c91be5a447c7e74347623e8dc

   Signature (PKCS#1v1.5)
HoW2UGtfIOeocSbtSalWBntDbTUGrTCHMElX+vY0ZOnj7/TKGMUXAP3TTBgKPVlrafu9xxSy7qd5YydHS1S7R7fZe5Z7uvZ4yDEsmCcEAswa7P9Hp6JGARzs5bo5Iibg2a25xMbPyDuXi+O3Ccc0xymsAz7xpyxVCLlFx+Z6eHQ=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 20 of 42



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 03:43:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   olg620AxZKOuE790a+b1T5X+630BmK7m1pNXv4HsgwmUI2Hx2suPpowa+4esPJDShZwOwt+jEx735iTTe06UhtbVHcThDK5HwQvGXBvR7nEJ8Lh2QF05KIXM17/J4iYbzzLhNe3Ve9Of/
   CcMzD0YVOTQ7byjxdavaQzZ4ekaBrYDFSLd3YAiPKouprMbhjvu04tVT12Hhi4MsYlQvgTFjgTEH6SETaRbsQy/xz3ki+xX4baJluGL0NDMTJjrbKgr6064iCIdTkTQ6nA498E8eCENbRRFDlE7zgB4vqNnSmiAGGiNnCrr9cJOHKGcptw3gSnbp/WQyYAsLuGSePZPKQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-03-43-22-GMT.mhtml

   Hash (SHA256)
   f044d51da763c0c38919e81dd66b36a8323dfa710e6755fdf792330e70d3b145

   Signature (PKCS#1v1.5)
YSK9+OpVOwKa1KDYe49DHY/gLpH3VoyMGTL5FzX/o99viSCMoZ1Empf9JBXqvw6PwY/7X+I87gA343G4ck/5lKHSesBuKy3nSJgmewreTRbOcNXJ+/
dYI1sjdrKpizJT9rd8Q8XoF7xTmiU3WgBNA6IZX0Vmr9uBt45iclgIWI3pfMX0ctjB6e1pe6cSWrgZVPfK8hQkBI9pdlBzwRg4VHmadtP8nwtJU2gnF+/aIi24JmZEhblvgOGZ7J0DQQugYHENAqolCyWPqLTmCT9RNbr1ZeDDvkm
+6lNqk2dnzPhRYNvDXfrjZYJYDM1vo4XZFrGn7RB7emveDPpL6Ne9Bw==
                                                                                 Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 21 of 42



                                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 20 Pcs Silver Plated Rings Set, Cute Open Rings Pack, Vintage Goth Y2k Adjustable Rings, Cute and Cool, Flame, Snake, Hug, Smiley Face, Moon and Sun Rings for Couples, Gift for Women Men Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Silver-Plated-Vintage-Adjustable-Couples/dp/B09L5N6QTB/ref=sr_1_93

   Collection Date
   Wed, 19 Apr 2023 11:56:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   N494SsfiAXRWcUxNjXDKJPvlW05BemKajMaZQONm+FNEev6Q5JHazP6EjawKjm6hfjKVPnNXOdRwMkHHjyc+dtunjm6WU1MddTw8L6ifQi5yTQew+octpe3Oi6hHyFMxDptic4mr0qwP+1rKrmkrE7JwYUcHrnb8GAU0+YK4W8M=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Silver-Plated-Vintage-Adjustable-Couples[fs]dp[fs]B09L5N6QTB[fs]ref=sr_1_93]]_Wed,-19-Apr-2023-11-56-30-GMT.pdf

   Hash (SHA256)
   4777c1d951da4103024b10cc703aa73a62dbf9ca23064cdab18b34a2d86759a6

   Signature (PKCS#1v1.5)
AzBywgkCVkKIdtlbME92BhoXHHvNOamEiQ+zrttlvWw8452Q8RAlMzMVjhjzfh2B5NYeJC8wLoBuZh27egmvviH9QqxUkOpN4k7ESCuFrNXn20c7pR0RDGUoEkU04yyoTN7Xd8ByNvKgsLAefd3sZH5m2Eq5IR19OZ8sqbMuMdU=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 22 of 42



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 07:26:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E7EV3r0M3W6CYRfaFlcBT9otgWKNwk85qDSX/nnM6buGqkPLorazqY8Feb6KHAxNDNhGNp1PAvPIU6t0bh1rx1X8TT0RPv6UrrIQCaM2FBCVS1mEQjkn0FCQoinAil/pJyRltaO2Q+jvelz39qpB9IhfYYkRGIBw8O2jol+dOyzkTSg8JwCc7uxVqOqvZjF4zW9jfMF
   +OBleFy0uW9xxO94omUa9pheb6YhKsiO4oxZzeiG4ExjH9xWxOc1K1tIwN4MzjurPya2qjW67XpcKdrKZsVAEksokyQJqotQxzlGC+O90kN9E/RDbPXG3GMaE1b3fJ/Vttj0FMLC1iALYCQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-07-26-47-GMT.mhtml

   Hash (SHA256)
   e27c76d91e6ef106fb4ee89e5a4bd3bf9561b8c2bf08af68a921cf40022dee2e

   Signature (PKCS#1v1.5)
KCurvzaljs/1seeKJqjH0MbszAo1BnLgVUmhMssfmIQ19xfuOCZI4KAWrg6m4pcRoG1HaNCAf7EAEDjf/0aMD3/lPSLxfbH/RFOEDu+UnxOcX8/UyS3xpBp89IPp39Of5YrfbtvRzxpXbr7Cl27s/KCyeqMOZ8oCjOt+ZxBd14zfVKTWdgZamKWc+cSIDcAKUYjl2gTveyAEfjFL3EMj
+wwTbHBaX5EThlu0oUHcBCLMyZcHwO+aOeGQZ6NLDPoA3v5AmJIZ36xqTrlHcT9VMD6RFvUj4osrf9D3lm348B/6rnzYYLXmAHma2cq891/qNXRvkuzmTugJmkfA33g06Q==
                                                                              Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 23 of 42



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Smiley Happy Face Group Logo Embroidered Badge Iron on Applique Patches

   URL
   https://www.amazon.com/dp/B00MPRD3ZA

   Collection Date
   Fri, 02 Jun 2023 17:08:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.22

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AXkqqlPn0rOYw6NyyMsw99bUxpTb6SgRTq49Dk8V+GXWorDA4ZLqxgaVtkhYKEzdGUd6QeW1uqTHsuluU69uiY1Z8qYUwfrutRSlwa0q1rLOZ4pyrph1tmYtiasjDRFXGC/8D54DrP2E2ydp1kaJzPw3E8xJAxL4g/
   COswUz4Cn8jesVFeyyxlUZ2aC375b1ssqTCfORtYJHbwlDvupELi36LrL49O4EqhyJ1qz6ToMB/4qlckGSmGI2JoXdw3ozqyoSbxGTrDb0i8+xgLan+U8qmOY3f+rWmWxWsxCJXBF/sJj6dC9SAVqmeq50nzAoEheGbOer8CLAV/owMk9vKQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B00MPRD3ZA]]_Fri,-02-Jun-2023-17-08-06-GMT.mhtml

   Hash (SHA256)
   2b38c652d9fbc8d7877a513dba2b7090bf1681b62330ddb88d96c859be9d98f8

   Signature (PKCS#1v1.5)
f/m0IW4+JP8vGZuxZlyOTA/L9W4Ah0XysZ7J+/JjkRWV9LZ2RBUQ0/Nk+k4/bXiypz+qHuD6RZ3Ur3Q5g4K8itVMbmuUKViGxqAbuUCxPN4BxMJQsugKXUiCFyrQ7w8UwXaVauud9SE+4ITLy5gbFPuURv0hyOVLIfm8LrhEns3O+Cxji/QxHisPHJZh68Qb6s2j87Kr0U3t3meOzloi2rlF4dCbskb
+geFaVBTEzDVXe57jC7bPjM91DrY1rxEOEsAJn2uwYu571ZxNd2eJ2cSk92LtbNGVIb5lpJh9rGOc/j6QdqoRGDCVrHZvmklMAmLC+qNQckoMSghsdWYCMA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 24 of 42



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 17:11:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.22

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lA2GyOyxBC1GfA+PWzXw0VZ4VQLEh1ZFMJI0XkLL0+vgJRLSPr2kGEKlW9reJ6W0VeqSXfA5ocXJOL/VNVwuyC7mzbd0TCt2XTshQcx5SFhA4AvZCNDT4oLnHAeuVgNut8ZjJEyw2FH4uXJ/iQP2HQ28Jr8Owb2y3V5OMl7djeeRjXdOUGzq7eSWjkRRxc2GKYHGyMv/nNY8/ctV/6BcdbD
   +VFvOTLw3RZw70YDRdbMuG09s5ACbrKMv+Rlg386MITnV+xYdAqtaJiDWamjarVx5FXvuJdMe5h0gJE77A0EOnSfvmlyOxDKkcXcNx9+2CFRxNC54mUs03XITMkOelw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-17-11-52-GMT.mhtml

   Hash (SHA256)
   f0dd677d715b1eacbe40c5a05a6a571aeca208cb9159e205a65bf09234b614a6

   Signature (PKCS#1v1.5)
qv3LxmeJ5AscN9S8FhFKbuFYiF6DlO/519FT4aMbLA2DqgiUGj5c/Up7MhJ1oGM12xhyowH+SUwlA8ktc7O0HvybH+xjP1FlBrhi5ZuWvj5ficGEz59WMzVY8oQOk4/
BCOj2NVY96XWOFvi5Xv7woPUCcrytw6Xv3qb4UfwsJZVFdip3wFePPvcuTw299iYft6eyO9cVgSk3Ma44QkLXH5kL0tcr5RpD3haMwCdTTj7cDN08UC6FtrKZoTiXzmJUaG7SxcRXxKGOI95CAmHhI7Y54dUMJ7zZchtaDM++wO9XtMkCXKeMPXHxvFxgs8N2M7DPTdDJUC7QKKifiuV2tw==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 25 of 42



                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: MOBEITI Smiley face Duvet Cover Twin Size - Beige Pattern Design Comforter Cover & Pillowcase, Soft Microfiber Winter Quilt Cover Bedroom Decor Bedding Set : Home & Kitchen

   URL
   https://www.amazon.com/MOBEITI-Smiley-face-Duvet-Cover/dp/B0BK25CDWS/ref=sr_1_297

   Collection Date
   Wed, 19 Apr 2023 11:26:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sic+pVUn3+Wm6TYIHMKDRaBVIdYZpJ1eczAhdoDWa5mkiw4JfcYQcNqoyckZHpyuNASRbx4IdodCBujA4d5SDXZyQF715kXl+KBTII+BSmNIEt+uCB/KeGdVOMZAeq98iTyowzV6RdpJc6K+9vGO8zL1Q20p6icVp9od+LcKP8k=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MOBEITI-Smiley-face-Duvet-Cover[fs]dp[fs]B0BK25CDWS[fs]ref=sr_1_297]]_Wed,-19-Apr-2023-11-26-08-GMT.pdf

   Hash (SHA256)
   8915f3c934c1331a1f327bbf7a7a264f31dd50c0710b8f2c8b067d78f78617f5

   Signature (PKCS#1v1.5)
kDlqR+mP/de4JhDYS+VEz0w09gxTWG6lErb3BBXTpn+82Y4CbChJ43HuC0CwPfqUdLMOCuJdorog+Yd/vgsXhOC/Ao9GsWA54p/Qlr04EYiZG4tm/JkI33CIbM+77rqrKwi7ayN7wZGPGvAgSnsYeRK/jDBgieg/p9A7E6yH6yI=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 26 of 42



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 18:08:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.105.210

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   s4gr2lKgtKuKnapcaILgqhbIEvtsnkFzvHH64w1pIFHGYToCxrp0VSNJQ9QVTDEWBWQeVdQEzBbX0IejAMsJsf0A3iDmbcGJAxR3KluEyJorvLlzKc/7SiTdViTWgikm7KP38gy7N5YeE336iYwlFIZCJWiSswxBosWJLZFLNEaw6Aq7w4Ao3kcmEEmKZFR0CDHD36XvPWyBsFV9ofE/
   T379M5uY4alON8CytutfNYshjvePMoJ/aNwOTxKL5I/AaeDbnNcbK3ajtjmSC1BADh2V7ZMJrrgPhmPU2md7fk7hRDP/kEetdq764u/i6NKl54Yce57E+44dbHSv9GQmvw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-18-08-23-GMT.mhtml

   Hash (SHA256)
   18268741f45cade0a2d32545fe3cada122cce7f5f20eaa1f3912d93aecf9db5f

   Signature (PKCS#1v1.5)
Vnt6jqquVsKBjoJAfSIP479FqeRyeAmjvJTX+0qb/Y3xOHWhLx/9PHZU8qwosDvR4M7L6K+l2vs7rTtE55pYQu98Eg95/JRhadAR3BUaKRS4fUo65wvoA9XRGOboJrCkv4Pa0qbdo+IusnBhtv0++EDWU4VCh4RPdkVkW6FiGdv1WQLftURij2LPjvrEEEtBHAL2XDXk9YtousM/
XO66zudtgafq6I0PISF0k2WuVAplu2UPPPFfxt/yEv4FlZX56pMTskNgFFapwA6kioDs3wLUoqOu/zDXMOI+Oo/nW8esrEpTLsdAwkmIDKx4BS/rRbkhDqr6exJHessNkXC4bA==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 27 of 42



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 15:53:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   W6US9nfuf7l8XFU5Ivmn9P6zB1JYAEzL/
   sfYsGirgIJmf0XIGfO45Vf3V32n90gKcnYr9Bh1wPGSqJMpH3+9RyrbZQcN7uMfmMNz7xjZBAhUNdMhJUGN84EycbCSXXoDlWQ5+UIhdrxDQZoFTeE6SM2Ak8huQkKWBEUws0EunUUjKlDAWN6mWTnNhYfVbzH50vsGWATix6ikLFnWyhFAX1ksRFxkx218z8VWn3NT
   +XAGKnoPDmw59QfDPojShyphEvoC6B40jAnrVJngGR909Lp69F4XWV1ToyAwN13iSqZJ1GnznJGLas7CTlRABads0bGAwndHIUVlo5zGBvjXpQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-15-53-45-GMT.mhtml

   Hash (SHA256)
   bb4633e6e5653437e96efeaeef4c49efdedda78aee8a20cbe7c778ebe76b33ff

   Signature (PKCS#1v1.5)
i+g9V6aNbt6GRT1VfnAfSph7oZUjgMxdjKHEBlbeI23W71FqYpum4uVMb0f7tPbJzn9AfUntA91DSEIzEHBFj7VnqL2TBSIYE7WPut47iB+puJ4DVD8HyVd+UEA5v17bEDBAgZAUVWz2ZlsgLbUsPRjrfDczNETGakp
+cndGWscGnTe0OnVfNIMoMC5PtLvQUZmWYi7X5yJx0lOqfzUS9+hzBjAQ4xa8+0IStW406juG+lGULEtfu1VGUN0GX6+7lSwGBMGHQ47aJ4rOTgK1q/2r/xzJuHxShyZ9dh21RcQzioESI8oW4PlwT6kjwdyivJsLFTbryjkVR/1CUZz2VQ==
                                                                              Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 28 of 42



                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   UTOWO Mesh-Back Preppy Baseball Cap for Women Crown Foam Smiley Face Trucker Hat Men Snapback Adjustable Dad Hat for Teens Medium (as1, Alpha, m, Standard, Pink (Gold Smile)) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/dp/B0BLTXZQGP

   Collection Date
   Tue, 30 May 2023 08:14:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g4dVcinvf+nyO1DPbn/sMkIJqlt1ZyU+Pp85IzWDMAHFIY8i2QZcY9gUs1pyakuTxG+N6Q63NfQARx89CyeltpXRBfnucmTS8ftNUBltqXIuAp9SOsWMC2d7ULrForI/D3is1+WqnpzNPZBZiKQOjCmwWj7omdSS+xhYPzPLvmo5bU7h1BOA8R/6vIVOMPTfTdx3CVjB2hcYA5WgC/
   gx6bXc5DiEApfdL7BlwRqtL1EADJCeJrk3XxTF/8foNPgwFktQMyziDuoVQy488QJNI06ezitgatHtsixNfhsP5FK+CqsYXYFMDMd9dn0m0oSOYf4eAFKFF12yEezDSix+sw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BLTXZQGP]]_Tue,-30-May-2023-08-14-06-GMT.mhtml

   Hash (SHA256)
   f7fa1398d7600ec53a56d30f22e448a6ab467b76b728f857fe78c91c374394da

   Signature (PKCS#1v1.5)
Q5TxlSxCvrqJ7AxV4izy3uNA8kdMkxYS73uC/I7vn2R51MxKyafaTYdCc0rX75MginVfYZGYihUTA6IBss3mEdnFvKwC9PJJysHw2zZfHh9Nz0ayMe74NKKKWZ1LE6Hl0H+AaAaYTAlh0fQYiBgKsR0TpDbHNQ
+UHBAXGica0TUl9nP4FTqft1g1CPqstLUPUOBnR9oI5H3CGgKznPPQQYybi7EQkjIIunVb4SHk8Eybs8zDQiI5o7o/cIgG9ECkc0hkizwICeGVIpKpoefz2r0C/SkEk7UwM0+bLAtE2/J4vAuB+v9i+4PKOx+cu8kIsfTmovchYZxoGSJK3TfvEQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 29 of 42



                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Sunflowers Phone Case Clear Colorful Smiley Face Floral Flowers Phone Case, Cute Rainbow Smiles Cover for Girls Women Fashion Flexible TPU Compatible with iPhone 11 Pro Max : Cell Phones & Accessories

   URL
   https://www.amazon.com/Sunflowers-Colorful-Flowers-Flexible-Compatible/dp/B0BV1574ND/ref=sr_1_100

   Collection Date
   Mon, 24 Apr 2023 10:54:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sArArur7TIckXdbwLhTRSg9VENdAXU5+HN6l080PSJTu+A3I9jp1PcUEsbjCALz6qePT5YxqfgXxnivXTtQmZqj/NOUor6zDuzJHWQe1d39qZmYPDg+CJYFNkAXzwJgLdL+DoOohE/o0y3tdp2jJG7OaYlaT1dfyaMOFYCY1HTI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Sunflowers-Colorful-Flowers-Flexible-Compatible[fs]dp[fs]B0BV1574ND[fs]ref=sr_1_100]]_Mon,-24-Apr-2023-10-54-00-GMT.pdf

   Hash (SHA256)
   b0c64f61d667c3a1a7d89a92ad9f274bb271c4895eadefe105cf7885e6402ea5

   Signature (PKCS#1v1.5)
BN4p6vX4XEsz4WxzAB+Xj+x9KE8+mRFAg8UVEtCZ6HYVpuPQDJeIVcMkWigQr6aXN6Sr+OA/rL4CJ76zTwcVRp+LGwW8OB9gdq3lkJ97FisYTMM7v3CeBRtR1wyVjysGyQGmHHU/rT8aNhkw8kRlpumFcacpYPB0WmbnLPFeplc=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 30 of 42



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 13:07:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MJYoW6oWt1+BUEZreYHr2tYDkePoxwIsWkJbqSw/TgjfrM1J97tNZJb1HydMSBpmNFGZF2L0wjXowZEp+R+1MTVhTQ4JLegINTQ9Kgh/fo9TrpxxJ8d+34AaCigeCDrL2ChUrkytDAYGZfmOnH8Ae8IRxLNhxxNQ6oGVqVo/
   h9TR6VT94FfqTWQKCxmyythYen972jVOeL3TDbHWZdHW2lVceVgy9lL+7/BoZIVqWVp2qP2Rdjxg38gDwj9UoHNbF8w6AghqzciGJmOWk9UhjVgUPXAWo/RgNkuFOdZEWRUzcLRZqjukLF7QMWE3vA4qKLJLumyD/JQDeSyrUIEvFA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-13-07-47-GMT.mhtml

   Hash (SHA256)
   d0297cef8a7743c5a77c71f997056edec49dc95e24c5e5cbeb6d67703ccfdd8d

   Signature (PKCS#1v1.5)
OSO4STn7+xux+/fmlHtzN9GQBcv9IULbOxu5xatyIHeHN/Hq4vVxlPe5WXTSG3NAkYlgzDfcTg4wnfNHwBPQxssjeOro5N4Xg6yDMls8CedpqWTCS1FI5lhoCNAie/z4lSvuJW59BgQC43mP0tm22jGzK9uTwkIjb6wPWMHwyQmmtbuWRdp/jMuH0VVRjkPcY7G5Z5qYN7RCr9TlYCc9ByHcJfuF/
gGL6WEKWS03TG/qkHfVawGv4n5w7+Dibkb4DCcuNpNtKtai1DnWyyIrTM+86rQbDyerhJQlnKFgOP65L0TxfRTMom863H0eq0Sf/7CFkCeSgpvt5xerQIdKoQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 31 of 42



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Vashion Knit Cuffed Beanie Hat for Men Women Embroidery Smiley Face Camel at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/Vashion-Cuffed-Beanie-Embroidery-Smiley/dp/B0B7BV2337/ref=sr_1_91

   Collection Date
   Tue, 25 Apr 2023 10:42:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rqxQUOL3lLBmL5wvKbux7im94nuyg4egQqzFzkAT8ZstH41wBTDDJ+bvpBHf4RXcVjGW+jp/pKI1g58CQNLqUb2pe3R69FmWgjytkWjy5uDfRrL/BAcx4siXa9X2WWp9Gyrv5dUZdntIorUUzB8/jDvhZ8RYgMaI6y6p444q21w=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Vashion-Cuffed-Beanie-Embroidery-Smiley[fs]dp[fs]B0B7BV2337[fs]ref=sr_1_91]]_Tue,-25-Apr-2023-10-42-29-GMT.pdf

   Hash (SHA256)
   507160f5ac0e7dedc2f267d82e0c8487fd05f3412d0ff219ae0c4236f724d3bc

   Signature (PKCS#1v1.5)
ioodG6RO8f+6SCBpj6bgqPAUusd9QsbJOTADXB+gNh7h3vX3EkLRHmzctrgLF+MFpmIPAK3FcdnRcj7wlmD6LPQU3GL2KVZUxe8a0urB8XQgOSUrVCd7fIYK1RUEXMawfavvq9BE5fvbO92TYCv2/+m2WVVyuGAIi3m6JSW7/PA=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 32 of 42



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 17:33:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KFUB8rIxqpREk2Nxq4+eeJZOfQpHC51TBUUdq1Sn9qAkGG+x6DkukCxO/bPESfscuki+MyHXvSGfDPLcBnQIpLOvzSrDYXrhv3O3IotAYvoxkYch3fja0H9KakfBoAxMzemCm3WoUwpwyRYv3tubdzTEx045flJO+PMeQI/5i1eRA/JFsXiHhvRkeGyyF83p0d
   +tWoV7igUT8EFzuI6crGIisImYSN4JI6t2VHDmSqRfCpLioZ0AHZO94OQ/eAjaRKVqvy0+4zVOKnXDfplYPGCdp1zlv9kTzhkp8oiVnMXXfNFyZiYngtHB+pvKnGKrdFoUG3Tvzv2ACCFFKHVnrg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-17-33-42-GMT.mhtml

   Hash (SHA256)
   efa013ee4cef7d41f2e8b6734b784f0fe4e09b9f326957dd2631bf70dac4e610

   Signature (PKCS#1v1.5)
GUsEQbfaAXzSqp8+LoIcKBXNM0coHgPMu3NutIOEJomN0Zscw2sg0xQcnbZLFvTWpqljboUU4FYKqSXuviUNlg1rHufXX1zr9epAddqB4TTp8997XtmAyIkidEsSE7abRwdwkehSdcWO2xqb6yBQSmu0+ARFKq63NIwyTGVvmaPqkJVaTI7g3tB6AfBv7B+e6KpZOYkcldsSYxmO0QY
+Yfz3LzEPg9P5zB79RmnSnd/2C6cp7oPS0uapZyawBL7RLZkvdoWttqloO5e97Z86TRuffvSfUvR0G7NyQdYvdrTqaPYPj5Cxn/0dtGW0HJlsErxkJxqChnp/bs7ADWxHFw==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 33 of 42



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 03:06:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bTxrfoDyi4BaLyy0cyTTSs/p4YLhI2//djOQdt3mTx5XghSpmbGOynG6A1mkE1udySOMwYysoSOBuv0KVcL
   +M2IwVBRTRC0M4GtpIqDuDaT0oF8bWJg3l5BMZ37MpftL702aOEjrDJm1m3n6W047awNJqd84wsJB6DfxgxEFujauLlvKJoBKtx3O7AcBkPY53Dn83tDwNly0AnyWerE58WHD14nKBEZElK5WQCRHA5nxxpmzoaMiWF9TDiUAQGa0U+HLxb+54pH0Y51jk/NhHcoL
   +UH07W2ZN9onBsxLedi79OBzaNSEVRZGceTi0NJXYdVR4Nppw/OqYA3RNG+aEA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-03-06-35-GMT.mhtml

   Hash (SHA256)
   f31faccc605ce79cda9d9727a19555c1568f4cb68a1368830d37dd92a51efc2b

   Signature (PKCS#1v1.5)
A/fLaLkvkD+iPSUT3ySBCofdv0fMZood1u1LARPNPyzUkmVuIXk78ckXtp1HHAJ/idUIurOo7OiHGWKwuNUglV/+tA9IDXC+6U/vyObQm2a5DEzaDKKXvD/osYyFlOjFGj2fsqI1ucRbZ2Fth8BqjS4C5uc9w8hUAPiQPZ6KHRmkecjbRLIYnXdWU4VV+sLJm+PIbQG7ytXBmraofR8+d
+dHuZFyoWIcMFCn3IW6XTqx5GsU+n0IsANotrfND7oFQbuxTN6x69KIeDNK7GhhZVXp7oHyA5XSlBZmdWmd/JUhe98YxI6SUtsEoauOcpvUdowUHNTNjw94Xh345K6cMw==
                                                                              Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 34 of 42



                                                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Cosmetic Bags for Women Corduroy Cosmetic Bag Corduroy Cosmetic Bag Smiley Face Makeup Bag Handmade Purses Smile Dots Makeup Organizer Girls Pencil Case Bags Travel Toiletry Bag (A Set, Brown) : Handmade Products

   URL
   https://www.amazon.com/dp/B0BP73JQBF

   Collection Date
   Tue, 23 May 2023 07:44:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KJdx6i5GjMxriv9Tol34xzivQcjw0xNp5M1PTZIQ1UdXEy7Dqpap5bboD4HmInVOdHJkWEeHQwPcdqM5fOTLMlv6Fkj60NQSvo9tqYROSADi7f0/KT2yXBQZT6uB3/FX9hYpbr186GkCF6o8hEpCbBmWfOwzF0Quyag+qQKl5Q00HrYFn9EiZqSejRyA6bTIK91aKKx
   +jVwC5XP2GOgGfHtrGr8gyNp5TkkQIce+12Fnm7cJxSXust3bRenXQfUCRXpFGlga++AQtOxXPnUfAj7uIOAQTJnte/Du4VYd0BPHYFZgapSzjTsu5/18V6N/kj+k3qnbKOIODrxgXCGFEg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BP73JQBF]]_Tue,-23-May-2023-07-44-19-GMT.mhtml

   Hash (SHA256)
   8c4376747b49f94802211706536efccb73555bfa2103ae6eb8ac1942976477c2

   Signature (PKCS#1v1.5)
DZxl7+ZLcbkZ3UTp2qjLP8P84WWZzWEunN+25feye4KPPHO8KKiu6gsr+ofDsOKlTCAoLrOXtDV4IoCi0hoC01iQfMYU6I5kcz6DknOI/1YzT3AMuge6PgF0FWV1NymvtNxx+VIqBGwIcgLZSPti44kfyPU7A1t3spy0O9K0h7p+XFLR8Wt3i/SHNFQJ43rOXBFV4s5vcw1hYzqwUlnLb2/
AkEqX7z9NiSuMKEEi5rooPIDMufAIgDD6WAZvn5hiZV+hndeVR/IFxG3ab0F3hRx5fj0Inzn/XEBFU22h8Iz1FmeRSHj1KzFIC8uUj2d8yLzPo0FFNBWflCp+eSRQrQ==
                                                                                    Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 35 of 42



                                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                                  Evidence Collection Report
   Page Title
   Amazon.com: 3 Sheets of Smiley Face Stickers for Nail Art | Ideal for Kids or Adults | Adhesive 3D Yellow Emjoi Fashionable Nail Art Stickers | Hundreds of Decals Included | Regular and Distorted Funny Faces! : Beauty & Personal Care

   URL
   https://www.amazon.com/Stickers-Adhesive-Fashionable-Hundreds-Distorted/dp/B0C3R1S9GK/ref=sr_1_98

   Collection Date
   Wed, 14 Jun 2023 09:33:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dS8zrLCHJxauiqEdnp9ZdMvvrTfNLfbY2lnpb46Dgmp0yUba4Ei0mA2KjGXv3orPw/9OdO6lfDduu5DGwV65SWnjtRRh+AlAUcIKE3FM5O7dEhqVXzboy4LEEzoedQ5hwWG0ouhB85KK/6dZxBq80czZ0w8MKcm+1k6E4nmz4nQ=




                                                                                                             File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Adhesive-Fashionable-Hundreds-Distorted[fs]dp[fs]B0C3R1S9GK[fs]ref=sr_1_98]]_Wed,-14-Jun-2023-09-33-05-GMT.pdf

   Hash (SHA256)
   805cbbde522b000ca3f383f2083bf898b63ace9c3b140fa0caebec7773e142d3

   Signature (PKCS#1v1.5)
VEn0dKldcxCCOncVbIyRx8LCNmpwBHJALkqsQgM7Dtqx7pxnCFw6MTF2SRPg8OFYxzEiJflxjNt0gbyzrj2lrxEdEBQAbOVyXB9q1p9/hpTN0DUkUYe8TIqutAGojPnqE+X2o26g50qf6bn/rYoYsjffj9uT5AsKazy2jrZghfI=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 36 of 42



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 16:41:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iaInoCNdMi5OfO3neaJKf2lALQpoJDTiBuQUzSBAa62iWDDfgu3Z3P/EA59yqrov8lhQ18yACsi+PlI0cmqNuulusBQwnGu0BCg5an6un4vuKoWKRnfecATU9mH8lAOUBnQi2HYjutbCXlpeV6Q0k2S4Sa70UKo7/QYxCZ85X4GQLdf+Jv3ojQpWSWY0qZ5vJBd2s2O7ACPUOv2PVwtL8TZw9xus/
   Q/Ef0Wpcj/YTleY+bfLfvUFRTgk3k4xunVXDdYJl4DLheBI1HAzIQGLqiShsnkYBVWsKA9xC0qHvUMYdcJKYC0vOxIvq8qiSmuOXCZzr0Z1rFf1akFc1eQSuA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-16-41-57-GMT.mhtml

   Hash (SHA256)
   7ed964257cca7130696f80daa3df0e397515d3047c5041d7e85c8b50c9042dca

   Signature (PKCS#1v1.5)
PaD3yyQGwYe2AQhtCI3kUBfqnrrtSuFLozGG/Jh6NBo0dYNeJiGGEUeWLVuxKZGWAo/e3Ft89FP7T2FVf3WHgNkei1ZUUCmSz88OdpX/YmOL6NdvgniCce8YI/tL0eGAM0ei1rSbwntWxyGlSJa7AnNG+BAyQWx/wGv8hKLhh3hIUJd2LbNAylIMKdf6K+2y4c+s/l0A2iP5wiFw1ApxutR17JQzpPSDF
+lpqgadHEuGm2Ht+gZfxrjOV61xJJjU92+WbhhS6IADAzooDD8X2bVYZqtYOg8RH+eNKWUvf5TODgm8pk3preiSZHMx8uQvncbDWOcjQXyFrWagA6yZyQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 37 of 42



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: VICKHU Smiley Face Necklace,Cute Round Gold Paperclip Necklace,Preppy Jewelry,gold Necklace for girl women(Pink Smiley): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/VICKHU-Smiley-Necklace-Paperclip-Jewelry/dp/B09NDR5NTM/ref=sr_1_21

   Collection Date
   Wed, 19 Apr 2023 11:38:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MmCt22Zgp2WfArncgvUJdBI+g4eQQIVDktdYZzRFNr0MiUsAfZyh+HF8FNRH9nPnjJxVJoJIAan5WbM/od48zR4zLLQ3a73V6n8iWpYa8WervGZ9gw3ZexG96shdAVKj/7n8ZAmsHbu+g+uzFaXYzB3FHU5Bw7G/5j6y2uTHo0A=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]VICKHU-Smiley-Necklace-Paperclip-Jewelry[fs]dp[fs]B09NDR5NTM[fs]ref=sr_1_21]]_Wed,-19-Apr-2023-11-38-10-GMT.pdf

   Hash (SHA256)
   3cb1bd1f71a42346b5f91a0ff91124ca6909b241e961974f8d9bb72195a11d20

   Signature (PKCS#1v1.5)
C8cscYVpGi3luz/k8E4urJo5QvRVwzKs5oR9QfgNU3I3wjo6auf2zI8H679M646iHlvfit5CLfkTUZ4kbIqKw8C2sWjJIe9ZCeBMDZufiCzWxVBjnZh8u8iuY9OPYdxu4w+tUZ8qtEyKOX2+JmN+Xrsx7XvINMQGHoWqACY0n6M=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 38 of 42



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 10:39:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FFp051ekuVsMprNCpCOsDyrxib0EXtdNygBmtM5qEXg5QWUakO94LQMhXFjH7tp6lNAVL7MZYJdDluD1HMi4ov9W9hZjEVHz8qkv3mPndL3OHMCYkhESmzEBjM6HURl1H5AOliFp5RqNQ3Emmd6EGN8AzG/kKG8JNtcJHudw2HIeqcwOytPmf73X6ZOs4SwfWAPmUuQL0o
   +HcGocIUJVnNw4rfwfStMRATH0T8tvyjR+H3ooH69sJ2I8iHZv8Ej5xNeOklelM4vT/OpFjbl0RVa1wLBU1CoJaYr+iwp/W9ou+tQjuGlEiQ/LkQ+aObdSUs5uUw3frjxYrX5rmHqMJQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-10-39-03-GMT.mhtml

   Hash (SHA256)
   841002db0512e9f1c329f6aa14e5607b1e2de2ccbd6617412ea4af13b2c01381

   Signature (PKCS#1v1.5)
fh7g0DwWDQW0qe7vyA/gqEbQRlFzG9cL/kxWKkmaz6qldBYGaMJHw29XNVFklijNk0AgW/dIKjzdeKQ6wbxwB3ay6WLZ3KU8r+fx4cmCGl/ceM9FktOCcuqaq1bw0RX+JTdy0Ox1Q1Cl7x4aVBAJOc2z1XYr0vH0y3TzbFCiifZlRilSyVXDdwX8se7TOk94q+OyhVfHo
+Wy77j66pecIeEStOuxDGj6wBxcqrbJTb+02pg6qIElwD0oBXzd1poeoAY9DLCgpiA8bm2taDH73aYCFhmrwf+nZ89FCIH1nAmozzTl3ZlatEji9Tz/7ONr6gfFKlknJbabnOb2o1WIQQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 39 of 42



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Vikodah Smiley Face Trucker Hats Preppy Style Baseball Hat,Unstructured Dad Cap for Unisex Pink at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Vikodah-Smiley-Trucker-Baseball-Unstructured/dp/B0BBYSMT5Q/ref=sr_1_13

   Collection Date
   Tue, 25 Apr 2023 09:28:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z03Pk/bNiZtLGq7gZ72GDaZU7g9lq27YOTYgWt2iMLTtuAFgNjwaAlowx0dCAYBud+eCZQrpB2FUxTYGNu58GlldQdcwUQjSQeXpF2n6R6hofQDNOsXQKEUzqdolnooqbmxZmwGelwSFJ8vZadt+mydFb2YBoyfkNeiSlb4ZJsA=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Vikodah-Smiley-Trucker-Baseball-Unstructured[fs]dp[fs]B0BBYSMT5Q[fs]ref=sr_1_13]]_Tue,-25-Apr-2023-09-28-04-GMT.pdf

   Hash (SHA256)
   8341925f086bc06ee00c3b9f5eef1796decbb01337231c9d60e18e18162c66bc

   Signature (PKCS#1v1.5)
hRnG521pCAP6UXxLDB26uO5NpZHHw4FAX7WvlzRw37PxzcG4un0K3ulW5qo6wAcd9WjvNNh/uzOtKsunx/aKVlnJlV9QcoP/UexCHemDLFA+zcESv8cmGNbBx0ZgsxFr7LrZZMsRhLMjjZ8a/ivjkE2vuTAHk+9p8GpW3HWPjBU=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 40 of 42



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 15:06:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g+x3d+sBU6q62QfEVTNrfxtb3+zJym3eYmVzvgCkiVWGksuSMil2bcYGNPaPvCaOgbY4dGpn89qUG91Yvj7iaIYelMULS/TCM7xTXhbc2PaH4dmv6fCkkUAJ1Mt74IputNblFlNtWTEMP6kVtvVZb9AJFU95NkXVBKvCAj
   +X9w5HGiPQeNBlPcyZn08V7bZEF74bN88dm0ievoJwpfkIO05qnMSb1dngpMStG4zLPHqXRktQRajlHL1ZICMQNEdN2SDszhTfzt/IpQhhbxoa1keG2PRbPqxxCH7eRtlzVkoBs1Tqq3WcfPyJhEMBbAlZDZCB8FW+cMWsksZGAPwxqg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-15-06-37-GMT.mhtml

   Hash (SHA256)
   3bd38968f79b310af4125df09c4a2ac4ea0902575284faec9c364419630622ae

   Signature (PKCS#1v1.5)
Pw9Lj8JhSmaxTjG8tHSPqHi81imBT51l1FZVhkeu8NW0LGYriTKYUOD9PeWJ0UUyObMnbHGm/+ZJx2kruW1Pdl1NOBXuEuxsDYRXRzCI23PiVA7VFvWirc8YuRKgNH5q6+KVrAvedTc1zV1o87SKcEUgFyN4iljIwLskX93aZIe33Z8XLJtgPqG3HbvlvjKdzwVgGwB2fEwmdX2aidECDTOF/
B95pQPruylOqyhZepF6g2M9VmiOpc+gN9HI7Jjs0LPATq5sQdfF9pk6DxXjX1uzMRQgCq4fGtmEWBVn7+uMrRtxjzck4W+fm6tG+8S3McKc620QI6f3JMq9IQsz5A==
                                                                                 Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 41 of 42



                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: IDesign Smiley Face Choker Necklace Asthetic Cool Collar Dainty Necklace Hip Hop Trend Cute Summer Y2K Collar for Teen Girls 15" (smiley face choker gold): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Choker-Necklace-Asthetic-Collar/dp/B0948V1FK6/ref=sr_1_77

   Collection Date
   Wed, 26 Apr 2023 04:47:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hv0RiY5E2ZKtk9guVbXihEOQ/gHkfT01M7srEotTjAQiNTWmsMBppAYNXo+aU46zKYRmt8D9c6ej+Vz1FW6nEtuxlIr+vsYEbKiRuXI4z/cz5uboQ1yymaOOrj1mFALSeVbuTyZec08Db7skC7LZoUWt0eZOZUcn/ZZ6+LfrhoQ=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Choker-Necklace-Asthetic-Collar[fs]dp[fs]B0948V1FK6[fs]ref=sr_1_77]]_Wed,-26-Apr-2023-04-47-16-GMT.pdf

   Hash (SHA256)
   bc843456c5d7e2f1fdb96841c84abeeed0d3f3029d4f84a8452d121ab176b2de

   Signature (PKCS#1v1.5)
qhbQRS2jW1aQkDHLHsAFmYCvkDBm7SdSxFjQSnlmqY/supFfBAU6CsEn271vKuW7victtwoba3MDcXmegLJNHMI1VbNMXXmNLNoDZr0shQK/edecyUHDyAcpcbnkauCFTQrTPdeOuc158A5Qs81gq4aF8k6CJW5diKjWS9UjoVY=
                                                                                Case 0:23-cv-61203-AHS Document 38-7 Entered on FLSD Docket 07/27/2023 Page 42 of 42



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 10:08:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jq89YswGiik0J8tKWwLRYPvT8+7Qtmn4I5croR18R2XJ3tf2cZKoQwhy4Psh57kTKYZVR29iqnEu4ZhIECyamevtkX4NzrCF3dMtTPTp9SDQpHmcTKE2gTDZo56NrmfD/
   zVljVSwuEBlslJNdvBtX1qLr5wMRPJpBFCSifXVo5DYbve1A6xdEazcIVxDuXzKUjPaLYVSuSxhEQSwYDFQJdjV4L5WRWrYa9lh9k3AWIQesq7jYTfx9t5bUMCj9KulcTyzguwFc/xle9LFHmgoN+sANwPlEBiqs/GSWYrd/qIDSfzr/pLPUIJ/U9urw0hU6hXYgzgJiLP0K1UYvMTMOA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-10-08-46-GMT.mhtml

   Hash (SHA256)
   afdf241060b5645074af88405dd8e9d4245fbbaa5d49e04321025c3ce6e4ae99

   Signature (PKCS#1v1.5)
EN/tJ/E95mdThwehz9T+X5ZeXcOr8U3ooU7oP0UaZPmbb6Oe2Rcwha1nReU13YTEQwivUT2W9xag80MDCmrr0NnTHaADm9WHhvTvgBbs6MCScczOUTuobbZ0OxZfqdoM6yx0yPb7MJOsm/c8yqUc7RcppmQRukjulaN
+JbPEjsb5jBRyq03mCIynszB3bNOyrG8Rki4noYxm0r8HYO6Gllwjn5fl2szubr4kmaGR2x+rA5fHrsK3dIb1bQe/hPxSxkoa5bx43Z91pG9CxxZzvOv2X24tXC4w5pb2N/rc2Say+L/P0HOedayur7/jU7kKgICX9leWuLGqpvtFrosaZQ==
